                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                        2022-NCCOA-4

                                        No. COA20-795

                                     Filed 4 January 2022

     Montgomery County, No. 16CRS050062, 64-65, 19CRS1060

     STATE OF NORTH CAROLINA

                  v.

     GLENN MADISION HOGAN, II.


           Appeal by defendant from judgments entered on or about 7 October 2019 by

     Judge V. Bradford Long in Superior Court, Montgomery County. Heard in the Court

     of Appeals 24 August 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Michael T.
           Henry, for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defender Aaron
           Thomas Johnson, for defendant-appellant.


           STROUD, Chief Judge.


¶1         Because the trial court did not abuse its discretion in denying defendant’s

     motion to excuse a juror for cause, we conclude there was no error in defendant’s trial.

     We remand for correction of a clerical error.

                  I.   Defendant’s Convictions and Issues on Appeal

¶2         Defendant was convicted by a jury of        first-degree murder, conspiracy to

     commit robbery with a dangerous weapon, three counts of robbery with a dangerous
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     weapon, and three counts of first-degree kidnapping. The jury found defendant guilty

     of first-degree murder based upon four theories: malice, premeditation, and

     deliberation; torture; lying in wait; and felony murder. The trial court arrested

     judgment on the conspiracy conviction, one of the robbery convictions, and all of the

     kidnapping convictions, and entered sentences on the remaining convictions: first-

     degree murder and two counts of robbery.             Defendant appeals his judgments.

     Because defendant only raises issues regarding a juror and a clerical error in one of

     his judgments, we will not recount the especially brutal and horrific factual

     background leading to his convictions.

                                   II.   Prospective Juror

¶3          Defendant’s first argument on appeal is that “[t]he trial court reversibly erred

     by failing to excuse prospective juror Mary Smith[1] for cause where she indicated she

     might be unable to apply the presumption of innocence.”

     A. Standard of Review

                          We review a trial court’s ruling on a challenge
                          for cause for abuse of discretion. A trial court
                          abuses its discretion if its determination is
                          manifestly unsupported by reason and is so
                          arbitrary that it could not have been the
                          result of a reasoned decision. In our review,
                          we consider not whether we might disagree
                          with the trial court, but whether the trial


     1 We use a pseudonym for the juror at issue.  We do so throughout the opinion without
     brackets in portions where the transcript is quoted.
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                         court’s actions are fairly supported by the
                         record.
                 The question that the trial court must answer in
                 determining whether to excuse a prospective juror for
                 cause is whether the juror’s views would prevent or
                 substantially impair the performance of his duties as a
                 juror in accordance with his instructions and his oath.
                         ....
                 If the record supports the trial court’s decision that the
                 juror could follow the law, then the trial court’s ruling
                 should be upheld on appeal.
                         ....
                 Indeed, an appellate court should reverse only in the event
                 that the decision of the trial court is so arbitrary that it is
                 void of reason. . . . [M]erely because a prospective juror
                 holds personal views that do not comport completely with
                 the structure set out in N.C.G.S. § 15A–2000 does not
                 disqualify that person from fulfilling his or her civic
                 responsibility to serve on a jury. Moreover, the General
                 Assembly’s intent is to maximize the pool of qualified
                 citizens who can serve as jurors. Determinations of
                 whether a juror would follow the law as instructed are best
                 left to the trial judge, who is actually present during voir
                 dire and has an opportunity to question the prospective
                 juror. Deference to the trial court is appropriate because it
                 is in a position to assess the demeanor of the venire, and of
                 the individuals who compose it, a factor of critical
                 importance in assessing the attitude and qualifications of
                 potential jurors.

     State v. Cummings, 361 N.C. 438, 447-50, 648 S.E.2d 788, 794-96 (2007) (citations

     and quotation marks omitted).

     B. Ms. Smith’s Voir Dire

¶4         Defendant moved to strike prospective juror Ms. Smith for cause. The trial

     court denied this request. Defendant then used a preemptory challenge to remove
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     Ms. Smith. Defense counsel later noted to the trial court that he wanted to use a

     preemptory challenge on another juror, but had exhausted them, and thus he

     renewed his motion to remove Ms. Smith for cause. The trial court denied the motion.

¶5         To put the jury selection process in context, we note that this case received

     extensive coverage in the local news due to the horrific facts of the kidnapping and

     torture of the victim. Because of the pretrial publicity and seriousness of the charged

     crimes, the jury pool for this case included about 200 jurors. After excusing some

     prospective jurors for various hardships, the trial court divided the 146 remaining

     prospective jurors into two panels for voir dire.           The prospective jurors were

     questioned individually, and many had prior knowledge of the case from media

     coverage or word of mouth in the community.                Quite a few also knew about

     defendant’s juvenile record and reputation. Many jurors were excused for cause

     based upon their stated inability to be fair and impartial due to pretrial publicity and

     others out of concern for the “gruesome” nature of the evidence. The entire jury

     selection process took five days.

¶6         The juror in question in this case, Ms. Smith, unlike many of the prospective

     jurors, had no prior knowledge of defendant or the case. Defendant argues the trial

     court abused its discretion in failing to allow him to excuse Ms. Smith for cause

     because “she indicated she might be unable to apply the presumption of innocence.”

     During her voir dire Ms. Smith stated several times she did not know about this
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     specific case, and her father is a retired state trooper. The Court questioned her:

                         THE COURT: Okay. The fact that your dad is a
                  retired highway patrolman – okay? – do you think that
                  would color the way you viewed the evidence in this case?

                        JUROR MARY SMITH: It would.

                        THE COURT: How so?

                         JUROR MARY SMITH: Because I know how loyal
                  my dad was and how – these men mean to him, so I would
                  prefer their judgment.

                        THE COURT: You think there’s a danger that you
                  might give their testimony more weight than another
                  person’s.

                        JUROR MARY SMITH: Yes.

¶7         The questioning continued:

                        THE COURT: --- okay? -- but what I think I heard
                  you saying was you didn’t think you could be fair to Mr.
                  Hogan because you would tend to believe a police officer’s
                  testimony over someone else’s. Is that a fair summation of
                  what you were saying?

                         JUROR MARY SMITH: Yeah. But I would be
                  willing to hear it, but it’s just, growing up in law
                  enforcement your whole life, you hear all the wrong and
                  bad that happens in your community, and you want justice
                  for everything, so ---

                          THE COURT: And I appreciate that. But here’s
                  where we are: We only have a chance to ask you questions
                  about it now, and what I -- what I think I hear you saying
                  is, “I would do my best.” You didn’t use that phrase, but I
                  think -- I think ---
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                  JUROR MARY SMITH: Yeah.

                  THE COURT: --- what you’re saying is – you’re
           letting us know you sort of feel like you have a
           predisposition towards wrongdoers being caught and
           corrected for their actions.

                  JUROR MARY SMITH: Yes.

                 THE COURT: And that -- but you would try and do
           your best to be fair in this case. Is that fair?

                  JUROR MARY SMITH: Yes.

¶8   The State then questioned Ms. Smith:

                  MR. NADOLSKI: I heard you say that, you know,
           because of your kind of slant on things as far as wanting
           justice for -- and -- but, you know, truthfully, I mean, that’s
           what we all want. I mean, that’s the ---

                  JUROR MARY SMITH: Yeah.

                   MR. NADOLSKI:             --- that’s the system of
           government we live in. We’re -- that’s what justice is all
           about. So I just want to be -- just to be clear, I don’t want
           to -- you know, ultimately, you know, it’s the highest – it’s
           one of the highest civic duties we have, is to serve as jurors
           and -- and do our duty as -- so that people that are charged
           with crimes will have people in the community that will
           hear their cases and determine their guilt or innocence.
           And so it’s -- you know, it’s a longstanding thing that passes
           down from the English law. And it’s – it’s important. It
           makes our system run and makes it work. . . . .

           ....

                  MR. NADOLSKI: And so the only question is, really,
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can you -- and so if you’re sat as a juror in this case, your
job will be to hear the evidence, and then once you’ve heard
the evidence, the judge would instruct you on the law.
Then you would determine whether the defendant was
guilty or not guilty of the crimes that are charged.
       In that -- in that situation, you will hear testimony
from many witnesses, lay witnesses and law enforcement,
medical examiners, things like that. And your job will be
to gauge the credibility of those witnesses. So that the
question is: Can you do that and be fair and not let any
predispositions you have have an effect on that?
       So, for instance, you know, you use the same things
that you use in your common sense, you know ---

       JUROR MARY SMITH: Uh-huh.

      MR. NADOLSKI: --- in your everyday lives: “Does
this make sense, based on that fact? Does this make sense?
“And you have to be fair to all the witnesses that testify.

       JUROR MARY SMITH: Yeah.

       MR. NADOLSKI: Does that make a ---

       JUROR MARY SMITH: Yeah.

       MR. NADOLSKI: So I guess the question is: If a --
if an officer testified in this case and maybe he said some
things that didn’t make sense and you thought, “Well, that
doesn’t really -- that really doesn’t go with that,” “It doesn’t
really compute,” you’re not going to let the fact that just
because he’s a law-enforcement officer come into play with
that.

       JUROR MARY SMITH: No.

       MR. NADOLSKI: You’re going to ---

       JUROR MARY SMITH: No.
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                  MR. NADOLSKI: You’re going to use your common
           sense ---

                 JUROR MARY SMITH: Yes. Yes.

                  MR. NADOLSKI: Okay. And that’s – that’s really
           what this gets down to, is: Can you do that in this case, set
           those -- set your experiences with your daddy aside ---

                 JUROR MARY SMITH: Uh-huh.

                 MR. NADOLSKI: And I know your daddy would
           want you to be fair in this case, too. Right?

                 JUROR MARY SMITH: Yeah. Oh, yeah.

                  MR. NADOLSKI: So -- all right. And so that’s the –
           that’s the real question: Can you do that? Can you just
           push that aside, say, “I’m going to consider the evidence
           that’s presented” –

                 JUROR MARY SMITH: Uh-huh.

                 MR. NADOLSKI: --- “I'm going to use the things
           that I use in my everyday affairs,” like the ability of a
           person to see, hear the things that they’re talking about,
           any apparent bias, things like that? And that’s just – that’s
           what ---

                 JUROR MARY SMITH: Yeah.

                 MR. NADOLSKI: --- you got to do. You think you
           can do that?

                 JUROR MARY SMITH: I think I could, yes.

¶9   Defendant’s attorney then questioned Ms. Smith:

                 MR. ROOSE: Okay. All right. Okay. Now, you
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                      indicated that you would – because you grew up with law
                      enforcement of course, and have a lot of respect for all those
                      people and everything, you would tend to defer to their side
                      of things, here. Okay. Is that ---

                            JUROR MARY SMITH: No.

                            MR. ROOSE: Is that right?

                            JUROR MARY SMITH: Yeah, like – but like I said,
                      I would, but I want to hear everything to make the right
                      judgment.

                             MR. ROOSE: Okay. Would – so – all right. Right
                      now, one of the – one of the three cardinal principals of
                      criminal law in a criminal case is that Glenn Hogan sits
                      here at the defendant’s table clothed in the presumption of
                      innocence. Can you presume Glenn Hogan to be innocent
                      right now?

                            JUROR MARY SMITH: I don’t know.

                            MR. ROOSE: Don’t know if you can do that.

                            JUROR MARY SMITH: Yeah, I don’t know.

¶ 10            Defendant’s counsel continued questioning Ms. Smith, followed again by the

       State:

                             MR. ROOSE: But to start out, you have -- you need
                      to be able to presume him to be innocent before you hear
                      anything else. He doesn’t have any burden. He doesn’t
                      have to prove anything. He doesn’t ---

                            JUROR MARY SMITH: Okay.

                            MR. ROOSE: --- have to prove his innocence. The
                      burden’s 100 percent with the district attorney, here.
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      JUROR MARY SMITH: Okay.

      MR. ROOSE: And they have to prove the case
beyond a reasonable doubt.

      JUROR MARY SMITH: Okay.

      MR. ROOSE: But you don’t know if you can presume
him to be innocent at this time. Is that right?

      JUROR MARY SMITH: I guess not. I don’t know.

      MR. ROOSE: Okay. That’s all the questions I have.

      THE COURT: Yes, sir.

      MR. NADOLSKI: Can I just follow up?

      THE COURT: Yep.

      MR. NADOLSKI: And I -- this may not have been –
you may not have had clarity on this, but -- so when we talk
about this presumption of innocence, it is – the
presumption -- basically what you’ll be – he’s presumed
innocent, and he’s charged with a crime, but that – that
doesn’t mean anything. It’s just an allegation. Right?

      JUROR MARY SMITH: Uh-huh.

       MR. NADOLSKI: And the presumption follows him
until, until, you’ve heard all the evidence. And you
understand why that is. You – it’s fair -- basic fairness.

      JUROR MARY SMITH: Yeah.

       MR. NADOLSKI: Then the judge will instruct you
after you’ve heard all the evidence, and then you determine
whether the defendant is guilty or not guilty of a crime. Is
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             that ---

                    JUROR MARY SMITH: Yes.

                    MR. NADOLSKI: So that’s truly what you’re going
             to be asked to do. Can you ---

                    JUROR MARY SMITH: Yes.

                    MR. NADOLSKI: --- do that?

                    JUROR MARY SMITH: Yes.

                    MR. NADOLSKI: Okay.

                    THE COURT: Yes, sir.

                    MR. ROOSE: No further questions.

¶ 11   The voir dire concluded:

                   THE COURT: Of course I remember [your father]
             Trooper [Smith]. The law presumes Mr. Hogan to be
             innocent. This is vitally important to this case.

                    JUROR MARY SMITH: Uh-huh.

                    THE COURT: And the law says that this protection,
             this -- however you want to view it, however you can
             envision it in your head, this shield, this garment,
             whatever it is, surrounds Mr. Hogan and is never removed
             from him unless and until the State of North Carolina
             proves he’s guilty beyond a reasonable doubt. There is no
             burden or duty of any type on Mr. Hogan. The burden rests
             on this table exclusively.
                    And, you know, these are tough things to talk about.
             It’s not things we ponder in our everyday lives. I get paid
             to do this, and I don’t ponder it in my everyday life, you
             know. I’ve sat in that chair, and it’s a different feeling
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                    sitting in that chair than sitting in this chair. Sitting up
                    here, you’re just -- you talk in a loud voice and tell
                    everybody what they’re supposed to do. When you sit over
                    there, you have to think about it. Okay?
                            So I need to know whether or not you can follow
                    those rules, whether or not you can extend the burden --the
                    -- whether or not you can hold the State to its burden of
                    proof beyond a reasonable doubt and whether or not you
                    can presume Mr. Hogan to be innocent and allow this
                    presumption of innocence to remain shield or -- him clothed
                    in this presumption of innocence unless and until the State
                    proves he’s guilty beyond a reasonable doubt. Easy to say.
                    It’s a little bit harder concept to wrap your mind around.
                    But that’s what I need to know whether or not you can do.

                          JUROR MARY SMITH: I can.

                          THE COURT: Okay. Anything else, Mr. Nadolski?

                          MR. NADOLSKI: No.

                          THE COURT: Mr. Roose?

                          MR. ROOSE: No.

¶ 12         While Ms. Smith admitted she was generally biased toward the side of law

       enforcement because her father had served as a law enforcement officer, she

       ultimately reiterated to the Court many times that she could be a fair juror, applying

       the presumption of innocence to defendant and the burden of proving guilt beyond a

       reasonable doubt to the State.    While defendant primarily relies on a United

       States Supreme Court case, we recognize our own extensive case law on this issue.

       For example, in Cummings, our Supreme Court held the trial court did not abuse its
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       discretion in denying the defendant’s motion to strike a juror for cause when the

       prospective juror was a law enforcement officer and made statements regarding his

       lack of impartiality and an inability to presume the defendant was innocent, but after

       additional questioning, he ultimately stated he would be fair to this defendant, would

       follow the trial court’s instructions, and consider all of the evidence. See id., 361 N.C.

       438, 648 S.E.2d 788.

¶ 13          We also consider the context in which Ms. Smith was selected as a juror. As

       noted above, this case had extensive pretrial publicity and many prospective jurors

       had to be excused for cause based upon their prior knowledge of defendant or reports

       regarding the alleged crimes.      The trial court called an especially large pool of

       prospective jurors and questioned jurors individually. Unlike many of the other

       prospective jurors, Ms. Smith had no prior knowledge of the case or defendant. We

       certainly cannot find that the trial court’s denial of defendant’s motion to strike Ms.

       Smith for cause was “so arbitrary that it is void of reason.” Cummings, 361 N.C. at

       449-50, 648 S.E.2d at 795. To the contrary, the trial court conducted the voir dire

       with great care and consideration of the particular challenges presented by this type

       of case.

¶ 14          We have reviewed the statements of Ms. Smith and are satisfied “that the

       record fairly supports the trial court’s conclusion that [the prospective juror] would

       follow the law as instructed.” Id. at 449, 648 S.E.2d at 795. We conclude there was
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       no abuse of discretion. This argument is overruled.

                                     III.     Clerical Error

¶ 15          Defendant’s only other argument on appeal is that “[r]emand is required to

       correct a clerical error because the trial court sentenced” defendant incorrectly on one

       of the judgments (16CRS0050065 – one count of robbery with a dangerous weapon).

       The State concedes the sentence on the judgment is in error and should be 73 to 100

       months rather than 77 to 100 months as is noted. “When, on appeal, a clerical error

       is discovered in the trial court’s judgment or order, it is appropriate to remand the

       case to the trial court for correction because of the importance that the record speak

       the truth.” State v. Smith, 188 N.C. App. 842, 845, 656 S.E.2d 695, 696 (2008)

       (citation and quotation marks omitted). Accordingly, we remand for correction of the

       clerical error.

              NO ERROR and REMANDED.

              Judges DIETZ and COLLINS concur.
